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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                             (PITTSBURGH DIVISION)

                                                   )
WALSH/GRANITE JOINT VENTURE,                       )
                                                   )
          Plaintiff,                               )
vs.                                                )   Civil Action No. 2:17-cv-00558-NBF
                                                   )
HDR ENGINEERING, INC.,                             )
                                                   )
          Defendant.                               )
                                                   )
                                                   )
HDR ENGINEERING, INC.,                             )
                                                   )
          Consolidated Plaintiff,                  )
                                                   )
vs.                                                )
                                                   )
WALSH / GRANITE, JOINT VENTURE,                    )
ET AL.,                                            )
                                                   )
          Consolidated Defendants.                 )
                                                   )
                                                   )
                                                   )

                       REPORT OF AGREEMENTS ON ADR PROCESS

       COMES NOW, Kathleen Olden Barnes, counsel for Plaintiff and Consolidated

Defendants Walsh/Granite, Joint Venture, Walsh Construction Company II, LLC, Granite

Construction Company, Travelers Casualty and Surety Company of America, Federal Insurance

Company, Zurich American Insurance Company, and Fidelity and Deposit Company of

Maryland (collectively referred to herein as (“Walsh/Granite”), and pursuant to the Order of this

Court Referring Case to Alternative Disputes Resolution, dated April 10, 2019 (Dkt. No. 256),

reports the following agreements with HDR Engineering, Inc. as to the dates, location and

principles attending the private mediation:

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Mediation Dates:               August 7, 8 and 9, 2019

Location of Mediation:         JAMS Resolution Center, Washington, D.C.

Principles Attending: The following party representatives will attend the mediation:


Walsh/Granite, JV and Consolidated Defendants

Bill Ernstrom, Vice President Legal, Walsh
Paul Wagner, Senior Vice President, Walsh
Arik Quam, Vice President and Business Group Leader, Walsh
Ed Kitzman, Project Director, Walsh
Ben Boisvert, Design Manager, Walsh
Dale Swanberg, Sr. Vice President, Group Manager, Granite
Ken Smith, Group Counsel, Granite
Mike Donnino, Sr. Vice President (ret.), Group Manager, Granite
Norah E. Fernandez-Vallejo, Senior Claim Counsel, Travelers Casualty and Surety Company of
        America (Authorized Surety Representative)
Jim Comodeca, counsel for Walsh/Granite, JV
Carter B. Reid, counsel for Plaintiff and Consolidated Defendants
Kathleen Olden Barnes, counsel for Plaintiff and Consolidated Defendants
Scott P. Fitzsimmons, counsel for Plaintiff and Consolidated Defendants
Adam M. Tuckman, counsel for Plaintiff and Consolidated Defendants

HDR Engineering, Inc.

Eli Khoury – HDR Eastern Region Transportation Director
Mike Crall – HDR Area Manager
Jason Fuller – HDR Project Manager
Robert Allen – HDR NY Transportation Business Group Manager
Ken Wright – HDR Northeast Bridge Engineering Principal
Jim Donahue – HDR Chief Counsel Litigation
Robert Moore – Moore & Lee – Counsel for HDR
Charlie Lee – Moore & Lee – Counsel for HDR
Jason Constantine – Moore & Lee – Counsel for HDR
David Hatem – Donovan Hatem – Counsel for HDR
Chris Ballod – Lewis Brisbois – Counsel for HDR
The Parties reserve the right to designate additional representatives, including retained experts, to
attend or make presentations at the mediation.




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Dated:       May 1, 2019

                                     Respectfully Submitted,



                                     /s/ Kathleen O. Barnes
                                     Kathleen O. Barnes (admitted Pro Hac Vice)
                                     Carter B. Reid (admitted Pro Hac Vice)
                                     Scott P. Fitzsimmons (admitted Pro Hac Vice)
                                     Adam M. Tuckman (admitted Pro Hac Vice)
                                     Watt, Tieder, Hoffar & Fitzgerald, LLP
                                     1765 Greensboro Station Place, Suite 1000
                                     McLean, VA 22102
                                     703-749-1000
                                     703-893-8029 (facsimile)
                                     kbarnes@watttieder.com
                                     creid@watttieder.com
                                     sfitzsimmons@watttieder.com
                                     atuckman@watttieder.com

                                     Tom Ferrell (PA ID # 48976)
                                     Ferrell & Reisinger, LLC
                                     300 Koppers Building
                                     436 Seventh Avenue
                                     Pittsburgh, PA 15219
                                     412-894-1380
                                     412-894-1381 (facsimile)
                                     tferrell@farrellreisinger.com

                                     Counsel for Plaintiff Walsh/Granite, JV, and
                                     Consolidated Defendants Walsh Construction
                                     Company II, LLC, Granite Construction Company,
                                     Travelers Casualty and Surety Company of
                                     America, Federal Insurance Company, Zurich
                                     American Insurance Company, and Fidelity and
                                     Deposit Company of Maryland




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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 1st day of May 2019, a copy of the foregoing Report of
Agreements on ADR Process was delivered by electronic filing through the Electronic Case
Filing (“ECF”) system on the following:

                                   Kenneth J. Hardin, II
                                  Hardin Thompson, P.C.
                                    The Frick Building
                                437 Grant Street, Suite 620
                                   Pittsburgh, PA 15219
                                kenhardin@hardinlawpc.net

                        Counsel of Record for HDR Engineering, Inc.

                                  Charlie C.H. Lee, Esquire
                                  Robert M. Moore, Esquire
                                Jason C. Constantine, Esquire
                                      Moore & Lee, LLP
                              1751 Pinnacle Drive, Suite 1100
                                   McLean, Virginia 22012
                                   c.lee@mooreandlee.com
                                 r.moore@mooreandlee.com
                              j.constantine@mooreandlee.com

                             Counsel for HDR Engineering, Inc.

                                    Christopher Ballod
                             Lewis Brisbois Bisgaard & Smith
                                  Law & Finance Building
                               429 Fourth Avenue, Suite 805
                                   Pittsburgh, PA 15219
                           Christopher.Ballod@lewisbrisbois.com

       These documents are available for viewing and downloading from the ECF system.


                                          /s/ Kathleen O. Barnes




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